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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) BRIAN THOMPSON, individually;                )
(2) JENNIFER JAMES, individually,                )
                                                 )
               Plaintiffs,                       )
                                                 )
v.                                               )       Case No. CV-23-1074-R
                                                 )
(1) J. GRAY TEEKELL, individually;               )
(2) THE TEEKELL COMPANY, INC.; and               )
(3) MICHAEL E. KRASNOW, Trustee of               )
    Morton Family Irrevocable Trust,             )
                                                 )
               Defendants.                       )

     TRUSTEE'S MOTION TO DISMISS SECOND AMENDED COMPLAINT

       Defendant, Michael E. Krasnow Trustee ("Trustee") of the Morton Family

Irrevocable Trust (the "Trust"), respectfully submits this Motion to Dismiss ("Motion")

pursuant to Fed. R. Civ. P. 12(b)(6). Because the allegations contained in the Second

Amended Complaint (the "Complaint") [Doc. No. 20] submitted by Plaintiffs, Brian

Thompson and Jennifer James (collectively, "Plaintiffs"), fail to raise any "right to relief

above the speculative level," Plaintiffs' Complaint should be dismissed with respect to its

claims for damages against Trustee. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545

(2007).

I.     INTRODUCTION

       During his lifetime and in 2004, Jerry Morton ("Jay") enlisted Trustee to draft an

irrevocable trust. At the direction of Jay, Trustee prepared the Trust which is dated
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September 30, 2004. Ex. 1, Trust at p.1 1; Compl. [Doc. No. 20] ¶ 1. The Trust's named

beneficiaries (or "primary beneficiaries") are Jay's son, Ryan Taylor Morton ("Morton"),

and Jay's stepchildren, Brian Thompson and Jennifer James (i.e., Plaintiffs). Ex. 1, Trust at

§ 2.1(a). Thus, Plaintiffs—as well as the newly added "defendant" that is to be aligned with

Plaintiffs—are the beneficiaries of the Trust. Upon the death of Jay and his then-wife

Nancy Morton ("Nancy"), Trustee is—subject to the terms of the Trust—to divide the Trust

into equal shares for the benefit of the three beneficiaries, per stirpes. Ex. 1, Trust at § 3.3.

       Pursuant to the terms of the Trust, Trustee was granted broad authority and vast

discretionary power with respect to the Trust's assets. See generally Ex. 1, Trust. In

connection with the Trust and at the direction of Jay, Trustee (in his capacity as Trustee)

applied for and received a life insurance policy on the lives of Jay and Nancy (the "Policy").

Compl. [Doc. No. 20] ¶¶ 6, 9. At the time of Jay's death, the Policy was the only asset

within the Trust. As Plaintiffs allege, this Policy was ultimately surrendered.

       Plaintiffs' Complaint alleges that they are entitled to over $2 million in damages, an

accounting, and removal of Trustee as a result of the purported malfeasance of Trustee plus

Defendants, J. Gray Teekell, The Teekell Company, Inc., and Trustee (collectively,

"Defendants"). Beyond the equitable relief of an accounting and removal of Trustee,

Plaintiffs' allegations (as they relate to Trustee) go to Trustee's alleged conduct as Trustee


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       Because the Complaint references the Trust and because the Trust supports
dismissal of all claims for damages against Trustee, Trustee's inclusion of the Trust as an
exhibit hereto does not impact this Court's determination. See Commonwealth Prop.
Advocs., LLC v. Mortg. Elec. Registration Sys., Inc., 680 F.3d 1194, 1201 (10th Cir. 2011)
("In evaluating a motion to dismiss, we may consider not only the complaint, but also the
attached exhibits and documents incorporated into the complaint by reference.").
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of an irrevocable trust—one that does not allow for distribution until the death of a

currently living person.

       Because Plaintiffs have no present right to distributions from the Trust, they lack

standing to asserts claims for damages against Trustee. But, more directly, because the

Trust's terms are outcome determinative of all purportedly wrongful conduct alleged here,

Plaintiffs' claims for negligence, breach of contract, fraud/gross negligence, and unjust

enrichment should be dismissed.

II.    ARGUMENT AND AUTHORITY

       A. PLAINTIFFS' COMPLAINT FAILS TO ALLEGE SUFFICIENT FACTS TO SUPPORT
          ANY CLAIM FOR DAMAGES AGAINST TRUSTEE

       To survive a motion to dismiss, a complaint must allege sufficient facts such that,

when accepted as true, a facially plausible claim to relief is stated. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). In determining whether a complaint states a "facially plausible

claim," a court accepts factual allegations as true and draws reasonable inferences in the

plaintiff's favor. Id.

       Importantly, "the tenet that a court must accept as true all of the allegations contained

in a complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not suffice." Id. (emphasis

added). Stated differently, "a plaintiff's obligation to provide the 'grounds' of [her or] his

'entitlement to relief' requires more than labels and conclusions, and a formulaic recitation

of the elements of a cause of action will not do . . . ." Twombly, 550 U.S. at 555 (citation

omitted; cleaned up; emphasis added); see also Papasan v. Allain, 478 U.S. 265, 286 (1986)


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("we [the courts] are not bound to accept as true a legal conclusion couched as a factual

allegation."). Relevant here, "[i]t is a long-settled principle that standing cannot be inferred

argumentatively from averments in the pleadings[] but rather must affirmatively appear in

the record." FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231 (1990), holding modified by

City of Littleton, Colo. v. Z.J. Gifts D-4, L.L.C., 541 U.S. 774, 124 S. Ct. 2219, 159 L. Ed.

2d 84 (2004) (cleaned up) (citations omitted). And it is the burden of the party seeking to

exercise jurisdiction to "allege facts demonstrating that he is a proper party to invoke

judicial resolution of the dispute." Id. (citations omitted).

       Here, Plaintiffs' Complaint contains numerous legal conclusions and conclusory

statements that, at their core, amount to mere "labels and conclusions, and a formulaic

recitation of the elements of [each] cause of action . . . ." See Twombly, 550 U.S. at 555.

Accordingly, this "will not do . . . ." Id. The Complaint should be dismissed in its entirety

as it relates to damages against Trustee.

       B. PLAINTIFFS LACK STANDING TO SUE TRUSTEE FOR PERSONAL DAMAGES

       Plaintiffs' Complaint generally avers that they are entitled to damages from Trustee.

See generally Compl. [Doc. No. 20]. Because the Trust is still in existence and is

irrevocable in nature, it will only wind up and Trustee will only distribute the Trust’s assets

to Plaintiffs upon the death of Jay's widow, Nancy. Ex. 1, Trust at § 3.3 ("Following the

deaths of both the Settlor and the Settlor's wife, the Trustee shall divide the Trust estate

into equal separate shares for the benefit of Ryan Taylor Morton, Jennifer James, and Brian

Thompson . . . ."); see also id. at §§ 3.2 ("Following the deaths of both the Settlor and the

Settlor's wife . . . ."), 4.3 ("Upon the death of Settlor and Settlor's wife . . . ."). Until then,

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Plaintiffs (as beneficiaries of the Trust) have no present right to receive any distribution

and, thus, lack standing to sue Trustee for purported damages associated therewith.

       The "irreducible constitutional minimum" for a litigant is standing to sue. To meet

this minimum, "[t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly

traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

by a favorable judicial decision." Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016), as

revised (May 24, 2016) (citations omitted). Generally speaking, in lawsuits by beneficiaries

against a trustee, "the remedies of the beneficiary against the trustee are exclusively

equitable." Restatement (Second) of Trusts § 197 (1959). One exception to this general rule

includes the following: "If the trustee is under a duty to pay money immediately and

unconditionally to the beneficiary, the beneficiary can maintain an action at law against the

trustee to enforce payment." Restatement (Second) of Trusts § 198 (1959). Conversely, if

a trustee actually misappropriates money which he is under a continuing duty to hold in

trust, a trust's beneficiary that is not entitled to immediate payment cannot maintain an

action for damages against the trustee. See id., cmt. d; see also Gillespie v. Seymour, 14

Kan. App. 2d 563, 572, 796 P.2d 1060, 1066 (1990), aff'd in part, rev'd in part on other

grounds, Gillespie v. Seymour, 250 Kan. 123, 823 P.2d 782 (1991) ("The Beneficiaries lack

standing to maintain a conversion action because they possessed a future interest in the

trust but had no right to immediate possession of the trust funds.").

       Here, Plaintiffs lack standing because they have not suffered an injury in fact.

Specifically, they are suing as beneficiaries who have, at best, a future interest in trust

property (i.e., upon Nancy's death). See Ex. 1, Trust at § 3.3 ("Following the deaths of both

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the Settlor and the Settlor's wife, the Trustee shall divide the Trust estate into equal separate

shares for the benefit of Ryan Taylor Morton, Jennifer James, and Brian Thompson . . . .");

see also id. at §§ 3.2, 4.3. As such, Plaintiffs cannot claim to have been financially injured

by (or otherwise seek damages for) any of Trustee's alleged actions until such time as their

beneficial interests have vested (i.e., when Nancy Morton passes). 2 See e.g., Jensen v.

Benoit, 3:19-CV-01779-HZ, 2020 WL 3421471, at *4 (D. Or. June 18, 2020) (granting

trustee's motion to dismiss, finding beneficiary lacked standing to assert claims against

trustee where beneficiary's rights to trust assets were triggered by the death of a person

who was alive at time of proceeding); Hamilton v. Mercantile Bank of Cedar Rapids, 621

N.W.2d 401, 409 (Iowa 2001) (affirming dismissal of beneficiary's lawsuit against trustee

noting that trustee had no present obligation to pay or turn over trust assets).

       In short, Plaintiffs' claims against Trustee for damages via their claims for

negligence, breach of contract, fraud/gross negligence, and unjust enrichment are not

ripe—and, as a result, Plaintiffs are entitled only to proceed against Trustee for equitable

relief (i.e., an accounting and removal). Consequently, Counts I-IV for damages as against

Trustee should be dismissed.




2
       The Trust also provides a mechanism by which Trustee can provide amounts to a
beneficiary if, in Trustee's discretion, such payment is appropriate to provide for her or his
health, education, maintenance, and support. See Ex. 1, Trust at § 3.4. Such circumstances
are not alleged here.
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       C. THERE IS NOTHING IMPROPER ABOUT THE ALLEGED CONDUCT OF
          TRUSTEE

       Each of Plaintiffs' claims revolves around the Trust receiving the cash surrender

value of the Policy. See e.g., Compl. [Doc. No. 20] ¶¶ 43, 55, 63. Plaintiffs allege that they

are entitled to damages in excess of $1,000,000 and punitive damages of at least $1,000,000

due to Trustee's failure to "properly investigate the market" for life insurance policies and

failure to advise that "the [P]olicy could be sold for millions of dollars on the open market."

Id. ¶ 44. Plaintiffs further lodge conclusory assertions of "self-dealing" as to all Defendants.

See e.g., id. ¶¶ 32, 59. Fatal to all Plaintiffs' claims, the act of surrendering the Policy or of

otherwise converting the sole asset of the Policy to a different type of asset is directly

authorized by the Trust. This warrants dismissal of all claims, sans the request for an

accounting and removal, asserted in the Complaint against Trustee.

       "By statute trustors and beneficiaries are specifically empowered to relieve their

trustee or trustees of liability for their acts in such capacity." Newman v. Morris, 1977 OK

243, ¶ 8, 574 P.2d 615, 617 (citations omitted). Specifically: "The trustor of any trust

affected by this act may, by provisions in the instrument creating the trust . . . , relieve his

trustee from any or all of the duties, restrictions, and liabilities which would otherwise be

imposed upon him by this act . . . ." OKLA. STAT. tit. 60, § 175.21. Moreover, such trustor

may add duties, restrictions, privileges, or powers. Id. And "[w]hen the trust instrument

leaves acts to trustee's discretion, the courts will not intervene." Atwood v. Atwood, 2001

OK CIV APP 48, ¶ 16, 25 P.3d 936, 942 (citation omitted). As a result, "the trustee's




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performance under that power does not give rise to a claim for breach of a statutory or

common-law duty which the trust instrument has altered." Id. (citations omitted).

       Here, Trustee shall not be liable for the failure to pay premiums on contracts of

insurance. And, in the event that the Trust's estate is insufficient to pay premiums, "Trustee

may in its discretion . . . surrender any of the contracts for their cash surrender values

. . . ." Ex. 1, Trust at § 4.2(c) (emphasis added). Even more broad, Trustee has the ability

"[t]o sell and convey any of the trust assets or any interest therein, or to exchange the

same for other property, for such price or prices and upon such terms as the Trustee,

in the Trustee's discretion, may deem advisable for the best interest of the Trust and

the beneficiaries hereunder . . . ." Id. § 7.5 (emphasis added). And as to any purported

"self-dealing," Jay (as Settlor) waived actual and potential conflicts of interest and further

directed "that so long as the Trustee acts in good faith, any such conflicts of interest shall

not be a basis for any action or claim against the Trustee." Id. 6.7.

       Because Plaintiffs have entirely failed to allege factual support that would take

Trustee's alleged conduct outside of the above provisions, Plaintiffs' claims for negligence,

breach of contract, fraud/gross negligence, and unjust enrichment should be dismissed.

III.   CONCLUSION

       For reasons stated herein, Plaintiffs lack standing to sue Trustee for damages and—

given the express terms of the Trust—have failed to allege facts to support their claims

against Trustee for negligence, breach of contract, fraud/gross negligence, and unjust

enrichment. Accordingly, Trustee respectfully requests that the Court dismiss Plaintiffs'



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request for damages and Plaintiffs' claims for negligence, breach of contract, fraud/gross

negligence, and unjust enrichment, as they relate to Trustee.


                                          Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on April 19, 2024 I electronically transmitted the foregoing
document to the Clerk of the Court for filing. Based on the records currently on file, the
Clerk of the Court will transmit a Notice of Electric Filing to the following ECF
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